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IN THE UNITED sTATEs DISTRICT coURT F"'" -@8` -
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 m V ,_
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W.D. OF: TN, W§ENIPH|S
UNITED STATES OF AMERICA,

Plaintiff,
vs. Cr. No. 04-20386 DP
CHRIS ANTHONY PARKS,

Defendant.

 

REPORT AND RECOMMENDATION

 

Before the court, through counsel, is defendant Chris Anthony
Parks's motion to determine that defendant is not competent to
stand trial, pursuant to 18 U.S.C. § 4241. The matter Was referred
to the United States Magistrate Judge for a report and
recommendation. A competency hearing was held on April l, 2005.
All parties Were present and heard. Prior to the hearing, Parks
filed a Memorandum in Support of Motion to Determine Chris Parks’s
Competency to Stand Trial, as well as several hundred pages of
mental health records for the defendant.

For the reasons below, it is recommended that Parks be
declared competent to stand trial.

I. PROPOSED FINDINGS OF FACT
A. Procedural History

On June 2, 2004, Parks Was arrested and charged Via a criminal

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complaint with committing arson at the Millington Post Office, in
violation of 18 U.S.C. § 81. The complaint alleges that Parks
poured gasoline into the drop boxes at the post office, set fire to
some papers with a lighter, and threw the burning papers into the
drop boxes - causing approximately $20,000 worth of damage and
destroying approximately 500 pieces of mail. Parks was brought
before the United States Magistrate Judge for his initial
appearance that same day, and following a preliminary hearing and
bond hearing, was ordered detained.

On June 10, 2004, the government filed an unopposed motion
requesting that Parks undergo a mental evaluation to determine if
he is competent to stand trial, pursuant to 18 U.S.C. § 4241, and
whether he was sane at the time of the offense, pursuant to 18
U.S.C. § 4242. The court granted that motion by order entered on
June 14, 2004.1

Pursuant to the court's June 14 order, Parks was transported

to the Federal Medical Center in Lexington, Kentucky (“FMC-
Lexington”). There he was observed, examined, and evaluated by
Forensic Psychologist Karen Milliner, Psy.D. She completed her

evaluation on November 10 and concluded that Parks (1) is competent

to stand trial and (2) was sane at the time of the offense.2

 

lOn September 16, 2004, a federal grand jury indicted Parks
on charges of setting fire to the post office building and
destroying a letter box.

2By order dated September 24, 2004, the court granted a
request from the Bureau of Prisons for an extension of time to

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During December 2004 and January 2005, the parties appeared
before the court on multiple occasions to address Parks's
competency. At these proceedings, counsel for Parks challenged the
reliability of Dr. Milliner's findings and conclusions, and asked
that the court order Parks to be evaluated once again, but this
time by a forensic psychiatrist. The court denied the request at
that time, but informed the parties that the court would conduct a
competency hearing as requested by defense counsel, and at that
hearing the court would reconsider defendant's request for another
evaluation.

The competency hearing was held on April 1, 2005. Prior to
the hearing, defense counsel filed a supporting memorandum. In the
memorandum, counsel highlighted Parks's extensive mental health
history, and again requested that the court order another
competency evaluation by a forensic psychiatrist. Defense counsel
attached several hundred pages of documents comprising of some (but
not all) of Parks’s mental health records, some dating as far back
as March 1980.

At the hearing, the government relied on the forensic report
completed by Dr. Milliner, as well as three other forensic reports
prepared as part of competency proceedings in a prior criminal
arson case brought against Parks, United States v. Chris Parks, 01

CR 20050 (complaint filed Feb. 22, 2001 W.D. Tenn.)(Mays, J.).

 

complete Parks’s evaluation.

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These reports were made exhibits to the hearing. Defense counsel
called Dr. Kevin Turner, M.D., and Nancy Carey to testify. Dr.
Turner, a Board certified psychiatrist employed by the State of
Tennessee and Correction Corporations of America, testified about
his interactions with Parks while Parks was confined at the West
Tennessee Detention Center (“WTDC”) in Mason, Tennessee. Carey is
the Health Services Administrator at the WTDC and testified
regarding Parks's use of (and refusal to use) medication while in
federal custody on the current charges. In addition, defense
counsel described to the court the problems he has encountered
during his interaction, with Parks. Counsel argued that his
difficulty in communicating with Parks and the wedical records
attached to the motion demonstrate that a forensic psychiatrist
needs to conduct another‘ evaluation. of Parks. Alternatively,
counsel submits that the court should find that Parks is
incompetent and order that he be sent to a Federal Medical Center
in order to be restored to competency.
B. Forensic Reports and Mental Health Records

1. Dr. Milliner's Report

Dr. Milliner observed and examined Parks during the Fall of
2004, and prepared a forensic report as directed by the court. In
addition to examining Parks, Dr. Milliner conducted a comprehensive
review of Park’s investigation and court documents, mental health
records, prior forensic reports, and interviewed investigators,

probation and pretrial services officers, and Parks's grandmother.

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Dr. Milliner administered the Wechsler Adult Intelligence Scale
test, Third Edition, and the Minnesota Multiphasic Personality
Inventory test, Second Edition. Ultimately, Dr. Milliner diagnosed
Parks with Antisocial Personality Disorder, Borderline Personality
Disorder (“BPD”}, a history of Schizoaffective Disorder, and
polysubstance dependence.

Dr. Milliner states in her report that “[a] personality
disorder is not considered a severe mental illness, but a long
standing pattern of perceiving' oneself and. one's environment,
interpreting one's experiences, and relating to others which
significantly interferes with one's social and occupational
functioning.” Antisocial Personality Disorder is distinguished by
“a pervasive disregard of social norms, often manifesting in
dishonesty, irresponsibility, irritability, aggressiveness,
recklessness, and a lifestyle of criminal activity.” BPD “is
characterized by a pervasive pattern of emotional, interpersonal,
and behavioral instability. This instability often manifests in
emotionally labile, immature, impulsive, and self-destructive
behavior."

The report emphasizes that Parks’s behavioral problems arise
from interpersonal conflict and interaction, as opposed to a mood
disorder. Apparently, Parks attempted to manipulate his
circumstances at FMC-Lexington through dramatic displays of
shifting emotional states. He generally refused the prescribed

psychotropic medication, and Dr. Milliner states that “[w]hen Mr.

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Parks took the medication, it was not clear the medication effected
any significant change in his conduct£’ She also claims that
“because Mr. Parks’ aggression appears related to personality
disorders, rather than resulting from a thought or mood disorder,
medication should not be expected to eliminate his aggression.”

Dr. Milliner opines that Parks “should be considered a high
risk for acting out dangerously toward himself and others.”
Specifically, Parks is reported to have stated,

I have a lot of rage in me . . . . There’s been times

1've thought about walking into a federal building and

start shooting, or walk into a police station and start

shooting until they take me out. Sooner or later I’m

probably going to get so tired of life and want to make

a statement, and take some people with me before 1 go.

Dr. Milliner concludes that Parks is competent to stand trial
and was not legally insane when he set fire to the Millington post
office. In conversations with Dr. Milliner, Parks demonstrated a
good understanding of the criminal proceedings against him and the
individuals involved. She states that he understood the
adversarial nature of the legal system and the role of his
attorney. Parks indicated difficulty in working productively with
his attorney, but Dr. Milliner suggests this is consistent with
interpersonal interactions Parks has with others. Dr. Milliner
also states that “Parks articulated detailed accounts of the
circumstances surrounding his arrest, and the acts leading to and

constituting the alleged offense, and indicated he would be able to

provide this same information to his attorney.”

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Dr. Milliner reports that Parks accurately defined the role of
the prosecutor, as well as an understanding of what it meant to
plead guilty, what it meant to plead not guilty, plea bargains, and
the potential consequences of a conviction. Additionally, Parks
reported understanding the illegality of his act and indicated his
desire to return to an institution. Dr. Milliner maintains that
“[t]hough his unusual feelings may not reflect motivation to obtain
what is typically viewed as a favorable outcome to the pending
proceedings, his statements were not related to any confusion,
perceptual distortion, or delusions, and cannot be attributed to a
severe mental illness.”

2. Previous Forensic Reports

On February 23, 2001, Parks was arrested for initiating a fire
in.the Covington Post Office that caused $20,000 worth of damage to
the facility. On March 6, 2001, the Magistrate Judge granted
Parks's motion for a psychiatric examination. Parks was sent to
the Federal Medical Center in Butner, North Carolina (“FMC-Butner")
to undergo a psychiatric evaluation. After observing Parks for six
weeks, Dr. Robert Lucking, M.D., the staff psychiatrist at FMC~
Butner, prepared a forensic report on May 17, 2001.

At FMC-Butner, the staff increased Park's dosage and number of
medications, and the report states that this caused him to show
significant improvement and eventual resolution of his psychotic
and affective symptoms. It also states that “[w]ith the increase

in his psychotropic medication, Mr. Parks's symptoms decreased to

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a level at which he was considered stable enough and he felt safe
enough to be released to the open housing unit.” One week after
being released to the open housing unit, Parks had to return to the
Seclusion Unit due to the re-emergence of suicidal thoughts.
Ultimately, Dr. Lucking diagnosed Parks with a Schizoaffective
Disorder, BPD, Borderline Intellectual Functioning, and Cocaine,
Cannabis, and Alcohol abuse.

Dr. Lucking found Parks competent to stand trial. He stated
that Parks had an adequate understanding of the charges against
him, the pleas available to him, and the roles of the attorneys.
The report indicates that Parks would have difficulty understanding
complex legal concepts, and an attorney would need to clarify
issues for him. Nevertheless, Dr. Lucking believed Parks had the
ability to adequately assist his counsel at trial.

Shortly after this report was completed, defense counsel moved
for a second psychiatric evaluation, arguing that the first
evaluation was “ambiguous in its analysis thereby rendering its
final opinion very questionable to a layman.” It also claimed that
the report was contradictory in that the doctor increased Park's
medication to a point where his psychotic symptoms diminished, but
also found that Parks had been without any medication for two weeks
prior to the alleged offense, which is an adequate period of time
for his psychotic and affective symptoms to return.

District Judge Julia Gibbons granted the motion for a second

evaluation, citing three reasons. First, defense counsel reported

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an inability to communicate effectively with the defendant.
Second, Parks’s condition apparently deteriorated since the first
evaluation. Finally, “a review of the initial evaluation reveals
that defendant indeed has serious mental health problems, despite
the report’s ultimate conclusion.” The second evaluation_was to be
completed at the Federal Medical Center in Springfield, Missouri.

Parks was evaluated a second time from June 28 to August 10,
2001, and the second report was completed on October 12, 2001 by
Karin D. Towers, J.D., Ph.D., a Postdoctoral Fellow. Dr. Towers
diagnosed Parks with BPD, substance abuse, and a mood disorder, not
otherwise specified, with psychotic features. Dr. Towers also
opined that Parks “manifests a mental illness best described as a
schizoaffective disorder,” but that illness did not prevent Parks
from understanding the nature and consequences of the criminal
proceedings.

Dr. Towers indicated that Parks understood the current charges
against him, as well as the consequences of a conviction. He
understood the roles of the courtroom personnel and the various
pleas available to him. In her opinion, Parks was competent to
stand trial.

The second report indicated that Parks remained competent
provided he continued to take his medications. After being sent to
another institution, however, the new detention facility informed
the court that Parks was refusing to take his medication. In

January 2002, upon oral n©tion by the parties, Judge Gibbons

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ordered Parks to be sent back. to FMC-Springfield. 'The order
permitted the staff at FMC-Springfield to forcibly medicate Parks
if the staff deemed it appropriate. Parks was to stay there up to
sixty days, until he attained “the capacity to permit the trial to
proceed absent forcible medication.” The order also required the
director of FMC»Springfield to certify whether the defendant was
suffering fronl a mental disease or defect if Parks's mental
condition did not improve.

Parks was held at FMC-Springfield from February 1 to April 1,
2002. At the conclusion of the sixty day period, Dr. Richard
Frederick, Ph.D., a clinical psychologist, submitted a report to
the court. Dr. Frederick indicated that Parks’s behavior is
consistent with BPD, but he disagreed with Dr. Towers’s diagnostic
formulation that Parks suffered from a mood disorder. In his
opinion, a diagnosis of BPD was sufficient to explain Park's entire
presentation.

Unlike previous reports, Dr. Frederick stated that “[w]e have
not seen any evidence that taking or not taking the medication has
any immediate impact on, [Parks's] emotional state. Instead,
periods of emotional agitation appear directly related to
interpersonal conflict.t He concluded that Parks “clearly does not
require medication to manage his behavior. We have no basis to
consider him in need of involuntary medication in order for him to
be competent to proceed." The institution did, not forcibly

medicate Parks. Nevertheless, Dr. Frederick indicated that Parks

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could benefit from his medication, and regardless of whether he
took the medication, it was likely that Parks would engage in
future episodes of destructive behavior. Dr. Frederick opined that
the court could treat any destructive behavior as voluntary
behavior from “an individual with no significant impairment in
intellectual capacity.”

On June 27, 2002, the parties appeared before District Judge
Samuel H. Mays for a competency hearing. At the conclusion of the
hearing, Judge Mays found that was Parks competent to stand trial.

3. Mental Health Records

As stated earlier, defense counsel filed. with the court
several hundred pages of mental health records documenting Parks's
medical, psychological, and institutional history. The documents
include, among other things, psychological evaluations for public
schools, evaluations to determine disability eligibility, prison
investigation.reports, psychological assessments for juvenile court
proceedings, medical treatment plans, and hospital records. They
cover a period of twenty two years from March 1980 (when Parks was
six years old) to January 2001,

The records show that Parks is a slow learner and may have a
learning disability. In terms of intelligence, Parks falls within
the borderline to low end range of intelligence. Several records
diagnose Parks with Antisocial Personality Disorder, BPS,
Borderline Intellectual Functioning, and polysubstance abuse.

Other diagnoses included Bipolar Disorder and Major Depressive

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Disorder. Many' records demonstrate that Parks behaves as he
pleases and has limited impulse control. He displays attention
seeking behavior, is immature and unsophisticated, and has poor
interpersonal and social skills. The records indicate Park's mood
varied greatly on different days: some days he seemed suicidal,
while other days he seemed happy.

Most evaluators cite issues within the family as the origins
of Parks’s psychological problems. After‘ the divorce of his
parents, Parks lived with his mother, who was a woman of limited
intelligence and had difficulty controlling Parks. Apparently,
Parks resents his father for leaving the home. He also alleges
that his older brother sexually abused him for many years. Based
on this background, Parks has low self-esteem, and his behavior can
also be attributed to failing to learn social norms.

4. Testimony of Dr. Kevin Turner and Nancy Carey

At the competency hearing, defense counsel called Kevin
Turner, M.D., to testify. Dr. Turner met with Parks on fifteen to
twenty occasions while Parks was confined at the WTDC. Dr. Turner
diagnosed Parks with a mood disorder characterized by depression
and anxiety. Additionally, Dr. Turner maintained that Parks has
psychotic features highlighted by paranoia that “everyone is out to
get him.” Although Dr. Turner did not preform specific
intelligence tests, he opined that Parks may be mildly mentally
retarded. Dr. Turner also indicated that Parks's behavior could be

improved by taking medication, and would best be suited in an

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institution that would force Parks to take his medication. Dr.
Turner testified that “under his understanding of competency,”
Parks is competent to stand trial. He indicated that Parks would
be able to discuss the case with an attorney who could explain the
rules, and that Parks knows right from wrong.

Nancy Carey is the Health Services Administrator at the WTDC
and testified that Parks was not taking his prescribed medications
on a regular basis and that the detention center was not forcing
him to take his medicine.

II. PROPOSED CONCLUSIONS OF LAW

A criminal defendant may not be tried unless he is competent.

 

See Godinez v. Moran, 509 U.S. 389, 396 (1993}. An accused is
competent to stand trial unless he is “suffering from a mental
disease or defect rendering him . . . unable to understand the

nature and consequences of the proceedings against him or to assist
properly in his defense.” 18 U.S.C. § 4241(a). For a defendant to
be considered competent to stand trial, the defendant must have
“sufficient present ability to consult with his lawyer with a
reasonable degree of rational understanding ~ and whether he has a
rational as well as factual understanding of the proceedings
against him.” Dusky v. United States, 362 U.S. 402, 402 (1960) (per
curiam). A defendant who is mentally ill may still be competent to
stand trial. United States v. Davis, 93 F.3d 1286, 1290 (6th Cir.
1996). While past psychiatric problems are relevant, “[t]he

question of competency to stand trial is limited to the defendant’s

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abilities at the time of trial.” United States v. Vamos, 797 F.2d
1146, 1150 (2d cir. 1986).

Under 18 U.S.C. § 4241(d), the hearing court must find “by a
preponderance of the evidence” that the defendant is not competent
to stand trial. The burden to prove a lack of competence is on the
defendant. See Cooper v. Oklahoma, 517 U.S. 348 (1996) (commenting
that under section 4241, “Congress has directed that the accused in
a federal prosecution must prove incompetence by a preponderance of
the evidence”).

Although medical records spanning a period of over two decades
demonstrate that Parks has had a long history of serious mental
illnesses, for purposes of determining his present competency to
stand trial in this case, the court relies primarily on the
evaluation conducted by Dr. Milliner.3 ln that report, Dr.
Milliner described Parks’s ability to understand the proceedings
against him and the importance of communicating with his attorney.
In their discussions, Parks articulated the circumstances
surrounding his arrest and indicated that he could provide that
information to his attorney. Parks also accurately described the
criminal legal process, as well as the role of various courtroom
personnel and the pleas available to him.

Dr. Milliner's conclusions are consistent with the other

 

3As discussed above, the mental health records submitted by
defense counsel are not inconsistent with Dr. Milliner’s report.
Both Dr. Milliner’s report and the medical records demonstrate
that Parks has had a long history of mental illness.

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forensic reports prepared as part of Parks’s prior federal criminal
case, Judge Mays’s finding that Parks was competent in that prior
case, and Parks's mental health records. The forensic reports
prepared, by' Dr. Lucking' at FMC-Butner and. Dr. Towers at FMC-
Springfield indicate similar conversations regarding Parks's
understanding of criminal proceedings to those more recently
experienced by Dr. Milliner when she spoke with Parks. Finally,
Dr. Turner testified that he could effectively communicate with
Parks with some effort by the doctor, even when Parks was not on
his medication.4
III. CONCLUSION

For the above reasons, it is recommended that defendant be
found competent to stand trial. Further, it is recommended that
defense counsel’s request to order a competency evaluation
conducted by a forensic psychiatrist be denied.

Respectfully submitted,

 

TU M. PHAM
United States Magistrate Judge

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Date

 

4During the hearing, defense counsel indicated that he was
not currently asking the court to order that Parks be forcibly
medicated, but he did suggest that he might consider making such
a request at some later date.

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ANY OBJECTIONS OR EXCEPTIONS TO THIS REPORT MUST BE FILED WITHIN
TEN (10) DAYS AFTER BEING SERVED WITH A COPY OF THE REPORT. 28
U.S.C. § 636(b)(1)(C). FAILURE TO FILE THEM WITHIN TEN (lO) DAYS
MAY CONSTITUTE A WAIVER OF OBJECTIONS, EXCEPTIONS, AND ANY FURTHER
APPEAL.

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US DISTRICT COURT

